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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-207 MCE
12                                Plaintiff,            STIPULATION REGARDING CONTINUING
                                                        JUDGMENT AND SENTENCING; ORDER
13                          v.
                                                        DATE: January 10, 2019
14   DONALD FREEMAN,                                    TIME: 10:00 a.m.
                                                        COURT: Hon. Morrison C. England, Jr.
15                               Defendant.
16
17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:
20          1.      By previous order, this matter was set for judgment and sentencing on January 10, 2019.

21          2.      By this stipulation, defendant now moves to continue the status conference until March

22 28, 2019.
23          3.      Defense needs additional time to obtain, analyze and present information relevant to the

24 Court’s consideration of the 18 U.S.C. § 3553(a) factors before the Court imposes its sentence. The
25 United States and the Probation Office do not oppose this request.
26          4.      Therefore, the defendant respectfully requests that this Court continue the judgment and

27 sentencing hearing until March 28, 2019 at 10:00 a.m., and that all dates pertinent to the preparation of

28 the presentence investigation report be adjusted accordingly to reflect the new sentencing date of March

      STIPULATION RESETTING JUDGMENT AND                1
30    SENTENCING HEARING
                Case 2:17-cr-00207-KJM Document 42 Filed 01/02/19 Page 2 of 2


 1 28, 2019.
 2         5.         Because the defendant has pleaded guilty, the Speedy Trial Act provisions do not apply

 3 to this request.
 4 IT IS SO STIPULATED.
 5
 6

 7   Dated: November 30, 2018                                 MCGREGOR W. SCOTT
                                                              United States Attorney
 8
 9                                                            /s/ ROSANNE L. RUST
                                                              ROSANNE L. RUST
10                                                            Assistant United States Attorney
11
12   Dated: November 30, 2018                                 /s/ David Garland
                                                              DAVID GARLAND
13                                                            Counsel for Defendant
14                                                            DONALD FREEMAN
                                                      ORDER
15
           IT IS SO ORDERED.
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     Dated: December 29, 2018
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      STIPULATION RESETTING JUDGMENT AND                  2
30    SENTENCING HEARING
